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                                       VERBATIM TRANSLATION

     Encrypting Assitant says:
      --- System Notice: the chat content below is unencrypted ---
     Li    Shaoming says:

          Hello Dr. MO [STC: 5459]      !



     Hailong says:
      Morning Dr.      LI   [STC: 2621]
     Li    Shaoming says:
      How is the com in our farm?
     Hailong says:
          The farmhand says it's good.
     Li    Shaoming says:
          Did you go over there and take a look?
     Hailong says:
      Not yet. I have been watching the weather closely...it was windy at first, and now it's
      rainy...I have been in touch with the farmhand there.
     Encrypting Assitant says:
          --- Systent ]rlotice: the chat content belov' is unencrypted ---
     Li    Shaoming says:
          Should we plan for inbred seedling separation this year?
     Hailong says:
      That would need people. Also, the seed seller mentioned that he/she wants to put up a
      sign for me as a promotion for the experiment field when the time comes...
     Hailong says:
          Inbred seedling separation needs a smaller range


     Encrypting Assitant says:
       --- System Notice: the chat content belou, is unencrypted ---
     Li   Shaoming says:
          It'd be better to try it this year! Also, could you find out the main US location(s) for
          their local corn seed production (i.e. male parents and female parents are inter-planted

          in alternating rows to produce hybrid seeds)? It'd be better to go and take a look    I



     Hailong says:
          I located a seed parent warehouse, but free inquiries can only be done by professional
          research institute(s). Young GUO [STC: 6753]tried, but was scared by them. They
          questioned him about who exactly was inquiring the information and that he would be
          sued if he didn't tell. Fortunately it calmed down.
     Li    Shaorning says:
          This qua(er, we planted the l3 hybrid seeds that you collected last year in eight test
          fields. Those in Shunyi [satellite city of Beijing] produced very nice results so far! A
          few days ago there was severe lodging in Shunyi and it proved that the lodging


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          resistance of the   l3 hybrid   seeds is better than Xianyu 335 (Pioneer's flagship breed in
      China). Whether their lodging resistance is comparable to Zhengdan 958 or not, still
                            We'll have the results of yield and other resistance traits by the
       needs to be validated.
      end ofthe year.
     Hailong says:
       Excellent.
     Li  Shaoming says:
       It would be inappropriate to request seeds from the seed parent warehouse.
     Hailong says:
      Young GUO underestimated the enemy and acted in haste.
     Li    Shaoming says:
       The next focus of your work over there is: how to increase collection quantity; improve
       collection relevance, and explore channels to obtain inbred male parent
     Hailong says:
      Ok. Need to think it through.
     Hailong says:
      Next year's rotation crop is soybean. It has some minor issues.
     Li Shaoming says:
       More and more information has proven that this collection tactic has huge impacts to
       our advantages in breeding materials.
     Hailong says:
      You can get more details on the parent warehouse incident when Young GUO [STC:
       6753] returns to the home country. They even managed to obtain my personal
       information. I gave a simple explanation that I was mistaken and they didn't pursue
       further. Young GUO was really frightened. One factor was English not good.
     Hailong says:
      How to increase collection quantity--this is relatively easy; improve collection
      relevance----need professional guidance; explore channels to obtain inbred male parent-
       ---need professional guidance


     Hailong says:
      Didn't plant this year either?
     Encrypting Assitant says:
       --- System Notice: the chat content beloy, is tmencrypted ---
     Li  Shaoming says:
       It looks like that this farm is quite limited in supporting our function to collect. We
       need to figure out ways to collect without reliance on the farm and ways to exercise the
       farm's full potential. Is it possible to plant com and soybeans half by half each year and
       take turns yearly? That rvould solve the problem.
     Hailong says:
       We have many new varieties this year.
     Hailong says:
      But a big benefit of the farm for our collection effort is that: greatly improved security
      and legality.


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     Hailong says:
       Don't have to worry about others asking a lot of questions.
     Li Shaoming says:
       Everything was planted for this year. Since the seed quantity was inadequate, they were
       only planted in Shunyi [satellite city of Beijing]. Mainly used for inbred seedling
       separation and haploid. Usage value assessment (multi-site experiment) will depend on
       you shipping back more seeds, and can only wait until next year.
     Hailong says:
      The seed quantity is still inadequate? There were more than 2000 pieces for each variety.
      Too heavy - I lived in fear for more than a week.
     Li   Shaoming says:
      The l3 sets from last year were heavily used. By this fall, you will see the performance
      of the hybrids produced by coupling among materials and a large amount of inbred lines
      selected from these materials (direct separation inbred line, second cycle selective lines
      [sic], and DH lines).
     Hailong says:
       Great.
     Li   Shaoming says:
       Since seeds from overseas have higher purity, the 2000 pieces were only enough for
       inbred seedling separation. The usage value assessment requires about 150 pieces of
       seeds for each test   site. A couple of the l3 sets that were separated last year were
      finally proved not inbred lines.
     Hailong says:
      A couple of the 13 sets that were separated last year were finally proved not inbred lines.
      Need to conduct more separation?
     Encrypting Assitant says :
       --- System Notice: the chat content below is ttnencrypted ---
     Li Shaoming says:
       Because we were worried that you can't separate the inbred seedlings there, we've
       placed inbred seedling separation as our number one task here this year. We have done
       multi-site (6) planting evaluation on the inbred seedlings that were separated last year.
       So far the performance is good.
     Hailong says:
       Excellent! It is very encouraging knowing that they are very useful.
     Li Shaoming says:
       You can communicate with CHEN Dianqing [STC: 7l 151301317230] for professional
       advice. Knowing seed production is an effective way to obtain inbred male parent.
       When     will Young GUO retum to the home country?
     Hailong says:
       This month.
     Hailong says:
      The specific date is not that far away.    I'll   check with him.
     Li Shaoming says:
      Ok. We'll chat at another time.


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     Hailong says:
       ok.
     Li   Shaoming says:
       Please have Young GUO contact me before he leaves for the home country.
     Hailong says:
       ok.




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